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 AO 106(Rev. 04/10) Application for a Search Warrant



                                       United States District Court                                           fi ^       ii
                                                                      for the
                                                          Eastern District of Virginia
                                                                                                                         MAY 24 2018
              In the Matter of the Search of
                                                                                                                         'f -C
      (Briefly describe the property^ to be searched                                                                  ALT'
       or identify the person by name and address)                                 Case No. 1:18-SW-292
635 MEADE DRIVE, SW., LEESBURG, VIRGINIA 20175,
WHICH IS A SINGLE FAMILY HOME WITH ATTACHED
                   GARAGE


                                             APPLICATION FOR A SEARCH WARRANT

           1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
 See Attachment A


 located in the              Eastern               District of             Virginia              ,there is now concealed (identify the
 person or describe the property to be seized)'.
 See Attachment B



           The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 sT evidence of a crime;
                  □ contraband, fruits of crime, or other items illegally possessed;
                  sTproperty designed for use, intended for use, or used in committing a crime;
                  □ a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:

              Code Section                                                         Offense Description
         Title 21, United States Code.              Conspiracy to distribute heroin, a Schedule I controlled substance, and fentanyl, a
         Sections 841 and *46                       Schedule II controlled substance


           The application is based on these facts:
         See Attached Affidavit



            □ Continued on the attached sheet.

            □ Delayed notice of                    days (give exact ending date if morp^han 30 days:                          ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set fort



            Reviewed by AUSA/SAUSA:                                                             Applicant's signature

            SAUSA David A. Peters                                                     John M. Mocello, Task Force Officer, FBI
                                                                                                Printed name and title


 Sworn to before me and signed in my presence.
                                                                                              Jsf.
                                                                                John F. Anderson
 Date:                                                                          United States Magistrate Judge
                                                                                                  Judge's signature

 City and state: Alexandria, Virginia                                                    The Honorable John F. Anderson
                                                                                                Printed name and title
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